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                              EXHIBIT 16
1/24/2021Case 2:21-cv-10163-GAD-APP               ECF No.Mail
                                                          28-17,      PageID.1156
                                                              - Eric Grundlehner - Outlook Filed 02/19/21 Page 2 of 4



      RE: Support
      Marcie Pearce <mpearce@detroitaxle.com>
      Thu 12/17/2020 11:17 AM
      To: Eric Grundlehner <eric@detroitit.com>


        1 attachments (3 MB)
      IMG_8994 (004).jpg;


      Hi Eric,

      So I just talked with Mike and didn’t realize you guys were nego a ng a se lement agreement and how new
      services will be COD on his approval.

      It is my understanding that we will pay you $10k a month star ng January 1st and it will con nue for 9 months
      a er that - $90k more. Any services in the mean me will be paid COD.

      Mike did say that he said it would be his approval but asked that you work through me (I’m sure you’ll want to
      conﬁrm this with him) since I am the one that will actually be doing the payments. That way we really now the
      cost of the service prior to something being done.

      I see that he approved my printer ﬁx. I have so many invoices that need to be printed!! I’ve a ached a picture of
      what my printer has looked like since yesterday. But I can’t even print to the main printer in the hallway either
      ☹.

      Marcie

      From: Eric Grundlehner <eric@detroi t.com>
      Sent: Thursday, December 17, 2020 8:33 AM
      To: Marcie Pearce <mpearce@detroitaxle.com>; Stephanie Miller <stephanie@detroi t.com>
      Subject: Re: Support

      Hi,

      Yes, we did invoice and Mike asked that it be canceled/not paid. Have you spoken with him regarding
      another wire?

      Thanks,

      Eric


      From: Marcie Pearce <mpearce@detroitaxle.com>
      Sent: Wednesday, December 16, 2020 5:27 PM
      To: Stephanie Miller <stephanie@detroi t.com>
      Cc: Eric Grundlehner <eric@detroi t.com>
      Subject: RE: Support

      Okay. But didn’t we get invoiced for December support? I know it’s not paid yet but if when we pay it we will
      have theore cally paid for support for December. I guess I’m just wondering if he realizes that.

                                                                                      Detroit IT - Hearing 2-8-21 000083
https://outlook.office.com/mail/eric@detroitit.com/search/id/AAMkAGUzYjJmY2Y1LTE4MDQtNGUxNS04NzRjLThmNmRhZmY1NDFkZgBGAAAAAAB…   1/3
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                                                              - Eric Grundlehner - Outlook Filed 02/19/21 Page 3 of 4

      From: Stephanie Miller <stephanie@detroi t.com>
      Sent: Wednesday, December 16, 2020 4:01 PM
      To: Marcie Pearce <mpearce@detroitaxle.com>
      Cc: Eric Grundlehner <eric@detroi t.com>
      Subject: RE: Support

      Hi Marcie,

      Mike is reques ng that we cancel the support agreement and only assist with his approval. We reached out to
      him to see if we could assist with your request.

      Thank you,

                      STEPHANIE MILLER
                      Operations Coordinator
                      T 248.530.1001 ext. 115
                      detroitit.com



              Submit a Ticket              Email Us           Call Us 248.530.1001




      From: Stephanie Miller <stephanie@detroi t.com> On Behalf Of Eric Grundlehner
      Sent: Wednesday, December 16, 2020 3:58 PM
      To: Stephanie Miller <stephanie@detroi t.com>
      Subject: Fw: Support



      From: Marcie Pearce <mpearce@detroitaxle.com>
      Sent: Wednesday, December 16, 2020 2:50 PM
      To: Eric Grundlehner <eric@detroi t.com>
      Subject: RE: Support

      So I guess what is covered under our normal support fee? I’m just wondering. Is it because you have to come out
      that you need Mike’s approval? I know Stephanie didn’t ask for it yesterday.

      Regarding the saga, it’s truly ridiculous. Such a waste of me and energy.

      From: Eric Grundlehner <eric@detroi t.com>
      Sent: Wednesday, December 16, 2020 2:38 PM
      To: Marcie Pearce <mpearce@detroitaxle.com>; Stephanie Miller <stephanie@detroi t.com>
      Subject: Re: Support

      Hi,

      We need approval from Mike ﬁrst. I just asked him.

      Did he approve the other wire?

      Eric
                                                                                      Detroit IT - Hearing 2-8-21 000084
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                                                      - Eric Grundlehner - Outlook Filed 02/19/21 Page 4 of 4

      Ps. I heard about the Comcast/HR saga....



      From: Marcie Pearce <mpearce@detroitaxle.com>
      Sent: Wednesday, December 16, 2020 2:13 PM
      To: Eric Grundlehner <eric@detroi t.com>; Stephanie Miller <stephanie@detroi t.com>
      Subject: Support

      So are you guys coming out here anymore? I really just don’t know the answer to that ques on. I can’t get any of
      the printers to work up here and I desperately need to print items. Let me know.

      Thanks!

      Marcie




                                                                                      Detroit IT - Hearing 2-8-21 000085
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